     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 1 of 15 PageID #: 1




                           UNITED STATES DISTRICT COURT
                           DISTRICT OF WESTERN LOUISIANA
                                SHREVEPORT DIVISION


SECURITIES AND EXCHANGE COMMISSION,                         CASE NO.

                              Plaintiff,
VERSUS                                                      JUDGE


KIRBYJON HINES CALDWELL and                                 MAGISTRATE JUDGE
GREGORY ALAN SMITH,

                              Defendants,


                 COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

       Plaintiff Securities and Exchange Commission (the "Commission") alleges as follows:

                                       INTRODUCTION

       1.      The Commission brings this action to enjoin Kirbyjon Hines Caldwell

("Caldwell") and Gregory Alan Smith ("Smith") (collectively "Defendants") from further

violations of the registration and antifraud provisions of the federal securities laws by offering

and selling participation rights in certain historical Chinese bonds (the "bonds") to mostly

vulnerable and elderly investors, some of whom liquidated their annuities to invest in this

scheme.

       2.      Between approximately April 2013 and August 2014, Defendants raised at least

$3,488,500 through a scheme to defraud approximately 29 investors through the fraudulent offer

and sale of the bonds. Among other material misrepresentations and omissions, Defendants

falsely represented to these investors that the bonds were safe, risk-free, worth tens, if not

hundreds, of millions of dollars, and could be sold to third parties. In reality, the bonds were

mere collectible memorabilia with no investment value.       Both Caldwell and Smith exerted
     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 2 of 15 PageID #: 2




control and influence over the scheme, and offered credibility to the investment by, respectively,

being a well-known pastor and claiming to be an investment adviser.

       3.      Through their conduct, Caldwell and Smith violated Sections 5(a), 5(c), and l 7(a)

of the Securities Act of 1933 ("Securities Act") [15 U.S.C. §§ 77e(a), 77e( c), and 77q(a)], and

Section IO(b) of the Securities Exchange Act of 1934 ("Exchange Act") [15 U.S.C. § 78j(b)],

and Rule l0b-5 thereunder, [17 C.F.R. § 240.l0b-5]. Further, Smith violated Sections 206(1)

and 206(2) of the Investment Advisers Act of 1940 ("Advisers Act") [15 U.S.C. §§ 80b-6(1) and

80b-6(2)]. Unless the Court enjoins the Defendants, they are reasonably likely to continue to

violate these provisions of the federal securities laws.

                                          DEFENDANTS

       4.      Caldwell, age 64, is a resident of Houston, Texas. During the relevant period,

Caldwell was the Senior Pastor at Windsor Village United Methodist Church (the "church"), one

of the largest Protestant churches in the U.S. In the past, Caldwell has been a board member of

various public companies, and he currently serves on the board of a company traded on the New

York Stock Exchange. Caldwell also acted as a director to a mutual fund complex during the

relevant time period. He and his wife are the co-owners of LDT, LLC ("LDT"), a Wyoming

limited liability company which received and held investor funds.

       5.      Smith, age 55, is a resident of Shreveport, Louisiana. Between December 1999

and July 2010, Smith was associated with a registered broker-dealer. In July 2010, Smith was

permanently barred from association with any FINRA member in any capacity, in part for

commingling investor funds in his business account and for misappropriating investor funds.




                                                  2
     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 3 of 15 PageID #: 3




                                 JURISDICTION AND VENUE

       6.      The Court has jurisdiction over this action pursuant to Sections 20(b ), 20( d)( I),

and 22(a) of the Securities Act[l5 U.S.C. §§ 77t(b), 77t(d)(l), and 77v(a)]; Sections 2l(d) and

27(a) of the Exchange Act [15 U.S.C. §§ 78u(d) and 78(a)]; and Section 209(d) and 214(a) of the

Advisers Act [15 U.S.C. §§ 80b-9(d) and 80b-14(a)].

       7.      The Court has personal jurisdiction over the Defendants, and venue is proper in

the Western District of Louisiana, because many of the Defendants' acts and transactions

constituting violations of the federal securities laws occurred in the district. In addition, at all

relevant times, Smith and the vast majority of the victims resided in the district.

       8.      In connection with the conduct alleged in the Complaint, the Defendants, directly

and indirectly, singly or in concert with others, made use of the means or instrumentalities of

interstate commerce, the means or instruments of transportation or communication in interstate

commerce, or the mails.

                                              FACTS

A. Background and Mechanics of the Offering

       9.      From at least April 2013 until August 2014, Caldwell and Smith offered and sold

to at least 29 investors participation rights in various historical or Pre-revolutionary Chinese

Bonds which Caldwell claimed to own, control, or possess. In some cases, Defendants told

investors that their funds would be used to purchase the bonds.           Smith, who worked as a

financial planner, was responsible for finding investors for this offering. He did so by promising

investors exorbitant returns.     Smith also represented to many investors that he was an

''investment adviser" with many years of prior experience assisting others with their investments

and he advised these individuals concerning whether to invest in this scheme.



                                                  3
     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 4 of 15 PageID #: 4




       10.     Smith was instrumental in securing investors for this scheme because he had

longstanding ties to prospective investors and operated under the guise of an investment adviser

with many years of experience advising clients on similar deals. In one case, Smith promised an

investor that she would receive 15 times her original investment within 30 days and any funds

she invested would be returned within 5 days of any demand for the funds. Smith also falsely

told her that he (Smith) had personally invested $250,000 in the deal.

       11.     Once an investor agreed to invest, Caldwell instructed the investor to wire transfer

payment to either a bank account controlled by his attorney or an account in the name of LDT, a

Wyoming limited liability company whose only members are Caldwell and his wife.

Immediately after the investor sent the money, Caldwell would cause the funds to be transferred

to personal accounts of Caldwell, Smith, or a Mexican business associate.

B. The Material Misrepresentations and Omissions about the Bonds


               1.     Background on Pre-Revolutionary Chinese Bonds

       12.     Prior to the 1949 communist takeover in China, the former republic issued

billions of dollars' worth of government bonds. These bonds have been in default since 1939

and the current Chinese government refuses to recognize the debt.

               2.     Material Misrepresentations and Omissions

       13.     Smith successfully raised money for this offering by claiming the deal was

available to only a few select individuals. Smith falsely told some investors that the money

raised would be used to acquire more Chinese bonds. He repeatedly told investors that the bonds

were "risk free," "guaranteed," and "safe" and that there were buyers lined up to purchase the

bonds. Smith also told investors that the bonds would either be sold to a third party or redeemed

by the Chinese government.      Caldwell also made similar oral misrepresentations to several


                                                4
     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 5 of 15 PageID #: 5




investors about the safety of the investment, both before and after they invested. In fact, he even

told one investor who invested approximately $800,000 that the bonds were backed by gold or

silver. Both Smith and Caldwell told investors that the bonds were valuable and worth tens, if

not hundreds, of millions of dollars. Neither disclosed that the bonds were in default and no

liquid market for the bonds existed. Caldwell and Smith also never told investors they would use

investor funds to pay for personal expenses.

       14.     Although many investors did not understand the investment, they ultimately

trusted Smith and took comfort in the fact that a high-profile pastor was offering the investment.

Among other things, Smith falsely represented to investors that he too had invested in the bonds

and that investors were guaranteed a return on investment which would be paid in less than one

year. In one case he promised a return on investment in as little as 30 days. However, Smith

failed to tell these investors that these bonds had already matured and had been in default for

decades, or that they were not redeemable at all. Smith also failed to disclose that he was

receiving compensation for recommending the investment to prospective investors.

               3.     The Participation Agreements

       15.     Once Smith found investors for the offering, Caldwell directed his attorney to

draft a participation agreement containing the terms of the investment.         The participation

agreements, many signed by Caldwell, usually included the investment amount, a vague

description of the bond, an exorbitant return on investment, a profit-sharing provision, depository

bank information, and a "failure to close" option pursuant to which the investor could request his

or her money back in the event Caldwell was unable to sell the bonds. Many of the participation

agreements given to investors generally described the bonds as "historical Chinese Bonds" and




                                                5
     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 6 of 15 PageID #: 6




several of the agreements specifically identified the bonds as having a date before the Chinese

communist revolution in 1949.

       16.     Under the terms of the participation agreements, the investors' expectation of a

return on their investment was based solely upon Caldwell's ability to sell the bonds to a third

party purchaser. In fact, many of the participation agreements expressly stated that Caldwell was

in control and possession of the bonds and that he planned to sell the bonds to third party

purchasers. All investors invested money in a common enterprise with the expectation of profits

solely from the efforts of the promoters or third parties. This offering was not registered with the

Commission.       Specifically, no registration statement was filed or in effect pursuant to the

Securities Act with respect to the offering. Furthermore, most of the investors who invested in

this scheme were not accredited and no exemption from registration was available. In fact, many

were unsophisticated retirees who liquidated their annuities to invest in this scheme pursuant to

Smith's advice.

               4.       Lulling Emails and Texts

       17.     Throughout 2014, Caldwell and Smith continued to send emails and texts

promising investors that they would be paid. These lulling emails usually provided elaborate

explanations for why Caldwell had been unable to sell the bonds. Excuses ranged from issues

pertaining to international currency exchanges to failures of international organizations like the

International Monetary Fund or the World Bank to approve the redemptions. Although these

excuses sounded plausible to some investors, they had no basis in fact.

       18.     In some emails Defendants promised that an alleged prospective buyer was

interested in purchasing or redeeming the bonds, and that the deal would close within a short

period of time. However, none of these deals ever transpired.



                                                 6
     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 7 of 15 PageID #: 7




         19.     Caldwell also held frequent investor calls to explain the reasons for the delays.

Smith and purported foreign intermediaries participated in these calls to provide further insight

on the status of the sale of the bonds to third parties. Many investors received lulling emails and

text messages from Caldwell or Smith. Some investors spoke directly with Caldwell about the

failed deals. He repeatedly told them to remain faithful and that they would receive their money.

Caldwell also used religious references in his lulling emails to give investors hope that they

would soon be repaid.       Finally, Caldwell sometimes used the alias "Turner Hines" when

communicating with investors.

         20.     Caldwell and Smith received approximately $760,000 and $1,000,000,

respectively, of investor funds.     LDT, controlled by Caldwell, also received approximately

$1,000,000 of investor funds, approximately $175,000 of which was transferred to Caldwell.

Offshore third parties, at least one in Mexico, received most of the remainder of the investor

funds.    Investor funds were comingled with other funds in Caldwell's and Smith's bank

accounts.      Caldwell and Smith used these accounts in part to pay for personal expenses,

including mortgage payments in the case of Caldwell and luxury automobiles in the case of

Smith. No investor to date has ever received any return on his or her investment. The great

majority of investors have never even received their principal back.

                                     CLAIMS FOR RELIEF

                                            COUNTI

                      Violations of Section S(a) and (c) of the Securities Act
                                    (As to Caldwell and Smith)

         21.     The Commission repeats and realleges Paragraphs 1 through 20 of its Complaint.




                                                 7
     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 8 of 15 PageID #: 8




        22.    No registration statement was filed or in effect with the Commission pursuant to

the Securities Act with respect to the securities and transactions described in this Complaint and

no exemption from registration existed with respect to these securities and transactions.

       23.     From April 2013 through August 2014, Defendants, directly and indirectly:


         (a)     Made use of means or instruments of transportation or communication in
                 interstate commerce or of the mails to sell securities as described herein,
                 through the use or medium of a prospectus or otherwise;

         (b)     Carried securities or caused such securities, as described herein, to be
                 carried through the mails or in interstate commerce, by any means or
                 instruments of transportation, for the purpose of sale or delivery after sale; or

         (c)    Made use of means or instruments of transportation or communication in
                interstate commerce or of the mails to offer to sell or offer to buy through the
                use or medium of a prospectus or otherwise, as described herein, without a
                registration statement having been filed or being in effect with the Commission
                as to such securities.

       24.     By reason of the foregoing, Caldwell and Smith violated and, unless enjoined, are

reasonably likely to continue to violate, Sections 5(a) and 5(c) of the Securities Act [15 U.S.C §§

77e(a) and 77e( c)].

                                            COUNT II

                       Violations of Section 17(a)(l) of the Securities Act
                                  (As to Caldwell and Smith)

       25.     The Commission repeats and realleges Paragraphs 1 through 20 of its Complaint.

       26.     From April 2013 through August 2014, Caldwell and Smith, directly and

indirectly, by use of the means or instruments of transportation or communication in interstate

commerce and by use of the mails, in the offer or sale of securities, knowingly, or recklessly

employed devices, schemes or artifices to defraud.




                                                 8
     Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 9 of 15 PageID #: 9




       27.     By reason of the foregoing, Caldwell and Smith violated and, unless enjoined, are

reasonably likely to continue to violate Section 17(a)(l) of the Securities Act [15 U.S.C. §

77q(a)(l)].

                                             COUNT III

                         Violations of Section l 7(a)(2) of the Securities Act
                                        (As to Caldwell and Smith)


       28.     The Commission repeats and realleges Paragraphs 1 through 20 of this Complaint.

       29.     From April 2013 through August 2014, Caldwell and Smith, directly and

indirectly, by use of the means or instruments of transportation or communication in interstate

commerce and by the use of the mails, in the offer or sale of securities negligently obtained

money or property by means of untrue statements of material facts and omissions to state

material facts necessary to make the statements made, in the light of the circumstances under

which they were made, not misleading

       30.     By reason of the foregoing, Caldwell and Smith, violated and, unless enjoined, are

reasonably likely to continue to violate Sections l 7(a)(2) and l 7(a)(3) of the Securities Act [ 15

U.S.C. § 77(q)(a)(2)].

                                             COUNTIV

                         Violations of Section l 7(a)(3) of the Securities Act
                                        (As to Caldwell and Smith)


       31.     The Commission repeats and realleges Paragraphs 1 through 20 of this Complaint.

       32.     From April 2013 through August 2014, Caldwell and Smith, directly and

indirectly, by use of the means or instruments of transportation or communication in interstate

commerce and by the use of the mails, in the offer or sale of securities negligently engaged in



                                                  9
    Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 10 of 15 PageID #: 10




transactions, practices and courses of business which operated as a fraud or deceit upon

purchasers of such securities.

        33.      By reason of the foregoing, Caldwell and Smith, violated and, unless enjoined, are

reasonably likely to continue to violate Section l 7(a)(3) of the Securities Act [15 U.S.C. §

77( q)(a)(3)].

                                            COUNTV

      Violations of Section lO(b) of the Exchange Act and Exchange Act Rule 10b-5(a)
                                 (As to Caldwell and Smith)

        34.      The Commission repeats and realleges Paragraphs I through 20 of its Complaint.

        35.      From April, 2013 through August 2014, Caldwell and Smith, directly and

indirectly, by use of any means or instrumentality of interstate commerce, and of the mails in

connection with the purchase or sale of the securities, knowingly or recklessly employed devices,

schemes or artifices to defraud.

        36.      By reason of the foregoing, Caldwell and Smith violated and, unless enjoined, are

reasonably likely to continue to violate Section lO(b) of the Exchange Act[l5 U.S.C. § 78j(b),

and Rule 10b-5(a), 17 C.F.R. § 240.10b-5(a)].

                                            COUNT VI

      Violations of Section l0(b) of the Exchange Act and Exchange Act Rule 10b-5(b)
                                  (As to Caldwell and Smith)

        37.      The Commission repeats and realleges Paragraphs 1 through 20 of its Complaint.

        38.      From April 2013 through August 2014, Caldwell and Smith, directly and

indirectly, by use of any means or instrumentality of interstate commerce, and of the mails in

connection with the purchase or sale of the securities, knowingly or recklessly made untrue




                                                 10
   Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 11 of 15 PageID #: 11




statements of material facts and omitted to state material facts necessary in order to make the

statements made, in the light of the circumstances under which they were made, not misleading.

       39.     By reason of the foregoing, Caldwell and Smith violated and, unless enjoined, are

reasonably likely to continue to violate Section l0(b) of the Exchange Act[15 U.S.C. § 78j(b),

and Rule 10b-5(b), 17 C.F.R. § 240.10b-5(b)].

                                           COUNT VII

      Violations of Section lO(b) of the Exchange Act and Exchange Act Rule 10b-5(c)
                                 (As to Caldwell and Smith)

       40.     The Commission repeats and realleges Paragraphs 1 through 20 of its Complaint.

       41.     From April 2013 through August 2014, Caldwell and Smith, directly and

indirectly, by use of any means or instrumentality of interstate commerce, and of the mails in

connection with the purchase or sale of the securities, knowingly or recklessly engaged in acts,

practices and courses of business which operated as a fraud upon the purchasers of such

securities and will operate as a fraud upon the purchasers of such securities.

       42.     By reason of the foregoing, Caldwell and Smith violated and, unless enjoined, are

reasonably likely to continue to violate Section I0(b) of the Exchange Act[15 U.S.C. § 78j(b),

and Rule 10b-5(c), 17 C.F.R. § 240.1 0b-5(c)].

                                          COUNT VIII

                           Violations of Section 206(1) Advisers Act
                                         (As to Smith)

       43.     The Commission repeats and realleges Paragraphs 1 through 20 of its Complaint.

       44.     At all relevant times, Smith, for compensation, engaged in the business of

advising others as to the value of securities or as to the advisability of investing in, purchasing,




                                                 11
    Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 12 of 15 PageID #: 12




or selling securities and was therefore an "investment adviser" within the meaning of Section

202(a)(l l) of the Advisers Act [15 U.S.C. § 80b-2(a)(l l )].

       45.     Smith, by the use of means and instruments of transportation and communication

in interstate commerce and by use of the mails, directly and indirectly, knowingly or recklessly

employed devices, schemes and artifices to defraud one or more clients or prospective clients.

       46.     By engaging in this conduct, Smith, directly and iµdirectly, violated, and unless

enjoined, will continue to violate Section 206(1) of the Advisers Act [15 U.S.C. § 80b-6(1)].

                                                COUNTIX

                            Violations of Section 206(2) of the Advisers Act
                                             (As to Smith)

       4 7.    The Commission repeats and realleges Paragraphs 1 through 20 and 44 of its

Complaint.

       48.     Smith, by the use of the mails or any means or instrumentality of interstate

commerce, directly and indirectly, negligently engaged in transactions, practices, or courses of

business which operated as a fraud or deceit upon one or more clients or prospective clients.

       49.     By reason of the foregoing, Smith violated and, unless enjoined, is reasonably

likely to continue to violate Section 206(2) of the Advisers Act [15 U.S.C.§ 80b-6(2)].

                                     RELIEF REQUESTED

       WHEREFORE, the Commission respectfully requests that the Court find the

Defendants committed the violations alleged and:




                                                 12
   Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 13 of 15 PageID #: 13




                                                 I.

                                  Permanent Injunctive Relief

       Issue permanent injunctions restraining and enjoining Caldwell and Smith, and their

officers, agents, servants, employees, attorneys, representatives, and all persons in active concert

or participation with them, and each of them, from violating Sections 5(a), 5(c), and 17(a) of the

Securities Act [15 U.S.C. §§ 77e(a), 77e(c), and 77q(a)] and Section l0(b) and Rule l0b-5 of the

Exchange Act [15 U.S.C. § 78j(b) and 17 C.F.R. § 240.I0b-5], and also, with respect to Smith,

from violating Sections 206(1)-(2) of the Advisers Act [15 U.S.C. § 80b-6(1) and 80b-6(2)].

                                                II.

                                          Civil Penalties

       Issue an Order directing Caldwell and Smith to pay civil money penalties pursuant to

Section 20(d) of the Securities Act[l5 U.S.C. § 77t(d)], and Section 2l(d)(3) of the Exchange

Act[l5 U.S.C. § 78u(d)(3)], and also, with respect to Smith, pursuant to Section 209(e) of the

Advisers Act [15 U.S.C. § 80b-9(e)].

                                                III.

                                          Disgorgement

       Issue an Order directing Caldwell and Smith to disgorge all ill-gotten gains, including

prejudgment interest, resulting from the acts or courses of conduct alleged in this Complaint.

                                                IV.
                                    Officer and Director Bar

       Issue an Order, pursuant to Section 2l(d)(2) of the Exchange Act [15 U.S.C. §78u(d)(2)]

barring Defendant Caldwell from serving as an officer or director of any issuer that has a class of

securities registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 781], or that is

required to file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. §78o(d)].

                                                13
   Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 14 of 15 PageID #: 14




                                                   V.
                                             Further Relief
        Grant such other further relief as may be necessary and appropriate.

                                                  VI.

                                       Retention of Jurisdiction
        Further, the Commission respectfully requests that the Court retain jurisdiction over this

action in order to impl ement and carry out the terms of all orders and decrees that may be

entered, or to entertain any suitable application or motion by the Commission for add itional

relief within the jurisdiction of thi s Cou11.

                                   DEMAND FOR JURY TRIAL

        The Commission hereby demands trial by jury.

                                                 Respectfully submitted,

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                                                 WILFREDO FERNANDEZ, FL          # 142859
                                                 TRIAL ATTORNEY
                                                 ANDRE ZAMORANO, FL BAR #96736 1
                                                 JACQUELINE M. O' REILLY, FL BAR #29326
                                                 SECURITIES AND EXCHANGE
                                                 COMMISSION
                                                 801 Brickell Avenue, Suite 1800
                                                 Miami, Florida 33131
                                                 Telephone: (305) 982-6300
                                                 Facsimile (305) 536-4154
                                                 fernandezw@sec.gov
                                                 zamoranoa@sec.gov
                                                 oreillyj@sec.gov




                                                   14
Case 5:18-cv-00434 Document 1 Filed 03/29/18 Page 15 of 15 PageID #: 15




                                ALEXANDER C. VAN HOOK
                                UNITED STATES ATTORNEY
                                WESTERN DISTRICT OF LOUISIANA

                                Isl Katherine W Vincent
                                KATHERINEW. VINCENT#18717
                                Assistant United States Attorney
                                800 Lafayette Street, Suite 2200
                                Lafayette, Louisiana 70501-6832
                                Telephone: (33 7) 262-6618
                                Facsimile: (337) 262-6693
                                Katherine. Vincent@usdoj.gov




                                  15
